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        EXHIBIT A
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                           Case:
      Hearing Date: 4/17/2024      1:24-cv-01310 Document 12-Person
                              9:30 AM                     #: 1-1 Filed:Jury
                                                                        02/15/24 Page 3 of 13 PageID #:14
      Location: Court Room 2305
      Judge: Mclean Meyerson, Pamela
                                                                                                                                  FILED
                                                                                                                                  12/18/2023 9:49 PM
                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                        IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                  COOK COUNTY, IL
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                                                                                                                                  2023CH10106
                                                 ALEX KOZIOL, individually and on              )                                  Calendar, 11
                                                 behalf of similarly situated individuals,     )                                  25648790
                                                                                               )
                                                         Plaintiff,                            )             2023CH10106
                                                                                               )          No.
                                                                        v.                     )
                                                                                               )          Hon.
                                                 BEFESA ZINC US INC. f/k/a                     )
                                                 AMERICAN ZINC RECYCLING                       )
                                                 CORP., a Delaware corporation,                )
                                                                                               )
                                                         Defendant.                            )
                                                                                               )

                                                               CLASS ACTION COMPLAINT WITH JURY DEMAND

                                                     Plaintiff Alex Koziol (“Plaintiff”), individually and on behalf of other similarly situated

                                              individuals, brings this Class Action Complaint against Defendant Befesa Zinc US Inc. f/k/a

                                              American Zinc Recycling Corp. (“Defendant” or “American Zinc Recycling”) for its violations

                                              of the Illinois Genetic Information Privacy Act, 410 ILCS 513/1, et seq. (“GIPA”), and to obtain

                                              redress for persons injured by its conduct. Plaintiff alleges the following based on personal

                                              knowledge as to Plaintiff’s own experiences, and as to all other matters, upon information and

                                              belief, including an investigation conducted by Plaintiff’s attorneys.

                                                                                    INTRODUCTION

                                                    1.      This case concerns the misuse of individuals’ genetic information in Illinois by an

                                             owner and operator of steel dust recycling facilities. As a condition of employment, Defendant

                                             requires potential employees to undergo a physical exam during which genetic information in the

                                             form of their family medical history is requested.

                                                    2.      Having recognized the uniquely private and sensitive nature of genetic information

                                             – and the potential for harmful discrimination that such information may encourage among

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                                             employers – the Illinois General Assembly enacted GIPA in part to regulate employers’ use of

                                             such genetic information. In addition to its baseline protections of individuals’ genetic information,
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                                             GIPA specifically provides that an employer, employment agency, labor organization, or licensing

                                             agency shall not directly or indirectly do any of the following:

                                                               (1) solicit, request, require or purchase genetic testing or genetic
                                                                   information of a person or family member of the person, or administer
                                                                   a genetic test to a person or a family member of the person as a condition
                                                                   of employment, preemployment application, labor organization
                                                                   membership, or licensure;

                                                               (2) Affect the terms, conditions, or privileges of employment,
                                                                   preemployment application, labor organization membership, or
                                                                   licensure of any person because of genetic testing or genetic information
                                                                   with respect to the employee or family member, or information about a
                                                                   request for or the receipt of genetic testing by such employee or family
                                                                   member of such employee;

                                                               (3) Limit, segregate, or classify employees in any way that would deprive
                                                                   or tend to deprive any employee of employment opportunities or
                                                                   otherwise adversely affect the status of the employee as an employee
                                                                   because of genetic testing or genetic information with respect to the
                                                                   employee or a family member, or information about a request for, or the
                                                                   receipt of genetic testing or genetic information by such employee or
                                                                   family member of such employee; and

                                                               (4) Retaliate through discharge or in any other manner against any person
                                                                   alleging a violation of this Act or participating in any manner in a
                                                                   proceeding under this Act.

                                                                   410 ILCS 513/25(c).

                                                       3.      GIPA defines “genetic information” as information pertaining to: (i) an individual’s

                                             genetic tests; (ii) the genetic tests of family members of the individual; (iii) the manifestation of a

                                             disease or disorder in family members of such individual; or (iv) any request for, or receipt of,

                                             genetic services, or participation in clinical research which includes genetic services, by the

                                             individual or any family member of the individual.1


                                             1
                                                 410 ILCS 513/10, by reference to 45 C.F.R. § 160.103.
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                                                     4.     Genetic information, including familial health history, is a uniquely private and

                                             sensitive form of personal information. The genetic information contained therein reveals a trove
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                                             of intimate information about that person’s health, family, and innate characteristics.

                                                     5.     In requiring prospective employees, such as Plaintiff, to disclose their family

                                             medical histories, Defendant has violated Plaintiff’s and the other putative Class members’

                                             statutory right to genetic privacy.

                                                     6.     In enacting GIPA, the Illinois Legislature recognized that “[d]espite existing laws,

                                             regulations, and professional standards which require or promote voluntary and confidential use

                                             of genetic testing information, many members of the public are deterred from seeking genetic

                                             testing because of fear that test results will be disclosed without consent in a manner not permitted

                                             by law or will be used in a discriminatory manner.” See 410 ILCS 513/5(2).

                                                     7.     GIPA bestows a right to privacy in one’s genetic information and a right to prevent

                                             the solicitation of, collection, or disclosure of such information.

                                                     8.     Despite GIPA’s prohibition against soliciting family medical information

                                             concerning familial diseases and disorders, Defendant continues to request that its employees and

                                             prospective employees provide protected familial medical history in violation of GIPA.

                                                     9.     Plaintiff brings this action for statutory damages and other remedies as a result of

                                             Defendant’s conduct in violating Plaintiff’s Illinois genetic privacy rights.

                                                     10.    On Plaintiff’s own behalf, and on behalf of the proposed Class defined below,

                                             Plaintiff seeks an injunction requiring Defendant to comply with GIPA, as well as an award of

                                             statutory damages under GIPA to the Class members, together with costs and reasonable attorneys’

                                             fees.




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                                                                                          PARTIES

                                                    11.       Defendant Befesa Zinc US Inc. is a corporation organized under the laws of the
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                                             state of Delaware and is registered with the Illinois Secretary of State to transact business in

                                             Illinois, including in Cook County.

                                                    12.       At all relevant times, Plaintiff Alex Koziol has been a resident and citizen of the

                                             state of Indiana.

                                                                               JURISDICTION AND VENUE

                                                    13.       This Court may assert personal jurisdiction over Defendant pursuant to 735 ILCS

                                             5/2-209 in accordance with the Illinois Constitution and the Constitution of the United States

                                             because Defendant is doing business within this state, and because Plaintiff’s claims arise out of

                                             Defendant’s unlawful in-state actions, as Defendant directly or indirectly solicited, requested,

                                             required, or purchased genetic information of its job applicants as a condition of applicants’

                                             employment or preemployment application in Illinois.

                                                    14.       Venue is proper in Cook County because Defendant is doing business in Cook

                                             County and thus resides there under 735 ILCS § 5/2-102(a).

                                                                         COMMON FACTUAL ALLEGATIONS

                                                    15.       The genomic revolution of recent decades has brought with it great advancements

                                             in biological sciences and medicine. Modern genomic technologies allow individuals to gather

                                             genealogical information about themselves and their relatives, to discover their genetic

                                             predisposition for diseases before any symptoms manifest, and in some cases to prevent and treat

                                             such diseases.

                                                    16.       These and other benefits of genomic science have coincided with a rapid decline in

                                             the cost of genetic testing. Since the turn of the 21st century, the cost of collecting and analyzing



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                                             a complete individual human genome has fallen from more than $100,000,000 in 2001 to less than

                                             $1,000 in 2022.2 Despite the benefits to science and health care that could be gained from increased
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                                             access to genetic testing, the Centers for Disease Control expressed counterbalancing concerns

                                             related to genetic privacy as early as 1996.3

                                                    17.     As recognized by the CDC and the Illinois Legislature, progress in the field of

                                             genomics does not come without risk, and as the benefits and accessibility of genetic testing have

                                             grown so too has the potential for abuse and discrimination. To address these and other concerns

                                             related to misusing genetic information, Illinois and other states regulate the collection, use, and

                                             disclosure of such information.

                                                    18.     In 1998, the Illinois General Assembly enacted the Genetic Information Privacy

                                             Act, 410 ILCS 513/1 et seq. out of recognition that people’s genetic information could be used for

                                             discriminatory purposes, one of the most harmful of which would occur in the context of

                                             employment.

                                                    19.     Accordingly, GIPA prohibits an employer from directly or indirectly soliciting,

                                             requesting, requiring or purchasing the genetic testing or genetic information of a person or family

                                             member of a person as a condition of employment, preemployment application, labor organization

                                             membership, or licensure. 410 ILCS 513/25(c)(1).

                                                    20.     GIPA defines an employer, in relevant part, as “every [] person employing

                                             employees within the state.”

                                                    21.     Defendant is an “employer” as defined by GIPA.




                                             2
                                              https://www.genome.gov/about-genomics/fact-sheets/DNA-Sequencing-Costs-Data
                                             3
                                              Board on Biology National Research Council. Privacy Issues in Biomedical and Clinical Research:
                                             Proceedings of Forum on November 1, 1997 (Washington D.C., National Academy Press, 1997) 1.
                                                                                              5
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                                                    22.     Defendant is an owner and operator of steel dust recycling facilities. Defendant

                                             employs at least one hundred individuals in Illinois, including in Chicago, Illinois where Plaintiff
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                                             worked for Defendant.

                                                    23.     As part of its hiring process, Defendant requires its prospective employees to

                                             undergo a physical examination.

                                                    24.     Defendant’s physical examinations include the solicitation of information

                                             regarding the manifestation of diseases in family members of the prospective employee.

                                                    25.     In addition to the above statutorily prohibited conduct, Defendant did not inform

                                             Plaintiff or the Class of their right not to answer any questions regarding their genetic information.

                                                    26.     Defendant thus violated GIPA by soliciting and obtaining Plaintiff’s and the Class’s

                                             genetic information as a precondition of employment or as part of their preemployment

                                             application.

                                                                           FACTS SPECIFIC TO PLAINTIFF

                                                    27.     In or around September of 2020, Plaintiff Alex Koziol applied for a job with

                                             Defendant and was hired to work at Defendant’s facility in Chicago, Illinois.

                                                    28.     As part of the application and hiring process, and as a precondition of employment,

                                             Defendant required Plaintiff to submit to a physical examination in Illinois.

                                                    29.     During the examination, Defendant required Plaintiff to answer questions

                                             concerning his family medical history, i.e. the manifestation of diseases or disorders in his family

                                             members. Such questions included whether Plaintiff’s family members had a history of diabetes,

                                             heart disease, kidney disease and other medical conditions.

                                                    30.     In response, Plaintiff disclosed his genetic information, including diseases and

                                             disorders with which his family members have been diagnosed.



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                                                     31.     Thus, Plaintiff’s sensitive genetic information was solicited by Defendant and

                                             obtained by Defendant as a condition of his employment.
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                                                     32.     Plaintiff was not advised by Defendant or anyone else acting on behalf of

                                             Defendant, either verbally or in writing, to not disclose the solicited genetic information. Nor did

                                             Plaintiff provide his genetic information in furtherance of a workplace wellness program.

                                                     33.     By requiring Plaintiff to answer questions about his family medical history,

                                             Defendant directly or indirectly solicited, requested, purchased and/or required Plaintiff to disclose

                                             his genetic information in violation of GIPA.

                                                                            CLASS ACTION ALLEGATIONS

                                                     34.     Plaintiff brings this action on behalf of himself and similarly situated individuals

                                             pursuant to 735 ILCS § 5/2-801. Plaintiff seeks to represent a Class defined as follows:

                                                             All individuals who applied for employment with Defendant in
                                                             Illinois and from whom Defendant, or an agent acting on behalf of
                                                             Defendant, has requested and/or obtained family medical history or
                                                             other genetic information according to Defendant’s records within
                                                             the applicable limitations period.

                                                     35.     Excluded from the Class are any members of the judiciary assigned to preside over

                                             this matter; any officer or director of Defendant; and any immediate family member of such

                                             officers or directors.

                                                     36.     Upon information and belief, there are at least one hundred members of the Class,

                                             making the members of the Class so numerous that joinder of all members is impracticable.

                                             Although the exact number of members of the Class is currently unknown to Plaintiff, the members

                                             can be easily identified through Defendant’s records.

                                                     37.     Plaintiff’s claims are typical of the claims of the members of the Class Plaintiff

                                             seeks to represent, because the factual and legal bases of Defendant’s liability to Plaintiff and the



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                                             other members of the Class are the same, and because Defendant’s conduct has resulted in similar

                                             violations to Plaintiff and to the Class. As alleged herein, Plaintiff and the Class have all been
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                                             aggrieved by Defendant’s GIPA violations.

                                                    38.     There are many questions of law and fact common to the claims of Plaintiff and the

                                             Class, and those questions predominate over any questions that may affect individual members.

                                             Common questions for the Class include, but are not limited to, the following:

                                                            a.    Whether Defendant’s conduct is subject to GIPA;

                                                            b.    Whether Defendant directly or indirectly solicited Plaintiff’s and the other

                                                                  Class members’genetic information as a condition of employment or through

                                                                  their preemployment application in violation of 410 ILCS 513/25(c)(1);

                                                            c.    Whether Defendant’s violations of GIPA were negligent;

                                                            d.    Whether Defendant’s violations of GIPA were reckless or intentional; and

                                                            e.    Whether Plaintiff and the Class are entitled to damages and injunctive relief.

                                                    39.     Absent a class action, most members of the Class would find the cost of litigating

                                             their claims to be prohibitively expensive and would thus have no effective remedy. The class

                                             treatment of common questions of law and fact is superior to multiple individual actions in that it

                                             conserves the resources of the courts and the litigants and promotes consistency of adjudication.

                                                    40.     Plaintiff will adequately represent and protect the interests of the members of the

                                             Class. Plaintiff has retained counsel with substantial experience in prosecuting complex litigation

                                             and class actions. Plaintiff and Plaintiff’s counsel are committed to vigorously prosecuting this

                                             action on behalf of the other members of the Class and have the financial resources to do so.

                                             Neither Plaintiff nor Plaintiff’s counsel have any interest adverse to those of the other members of

                                             the Class.



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                                                    41.     Defendant has acted and failed to act on grounds generally applicable to Plaintiff

                                             and the other members of the Class, requiring the Court’s imposition of uniform relief to ensure
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                                             compatible standards of conduct toward the members of the Class and making injunctive or

                                             corresponding declaratory relief appropriate for the Class as a whole.

                                                                                        COUNT I
                                                   Violation of the Illinois Genetic Information Privacy Act, 410 ILCS 513/1, et seq.
                                                                          (On behalf of Plaintiff and the Class)

                                                    42.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                                                    43.     Defendant is a company that employs individuals within the state of Illinois and

                                             therefore meets the definition of an “employer” under GIPA. 410 ILCS 513/10.

                                                    44.     GIPA defines “genetic information” by reference to HIPAA as specified in 45

                                             C.F.R. § 160.103 to include the manifestation of a disease or disorder in family members of an

                                             individual.

                                                    45.     Under GIPA, an employer shall not directly or indirectly solicit, request, require or

                                             purchase genetic information of a person or a family member of the person as a condition of

                                             employment or as part of any preemployment application. 410 ILCS 513/25(c)(1).

                                                    46.     As a precondition of their employment with Defendant, Plaintiff and the Class were

                                             required to undergo physical exams, wherein Defendant required them to answer questions

                                             regarding their family medical history, i.e. the manifestation of a disease or disorder in family

                                             members. In other words, Defendant directly or indirectly solicited, requested, purchased and

                                             required Plaintiff and the members of the Class to disclose their genetic information.

                                                    47.     Plaintiff and the Class also provided accompanying personal identifying

                                             information, including their full names, home addresses, date of birth, Social Security information




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                                             and gender to Defendant as part of their employment applications and during the physical exams

                                             they underwent.
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                                                     48.      The information obtained from Plaintiff and the Class by Defendant is the type of

                                             information protected by GIPA. 410 ILCS 513/10.

                                                     49.      Defendant failed to advise Plaintiff and the other Class members, either verbally or

                                             in writing, of their statutorily protected right under GIPA to not provide their family medical

                                             history or genetic information.

                                                     50.      Plaintiff and the other Class members have been aggrieved by Defendant’s above

                                             violations of their statutorily protected rights to privacy in their genetic information as set forth in

                                             GIPA.

                                                     51.      GIPA provides for statutory damages of $15,000 for each reckless or intentional

                                             violation of GIPA and, alternatively, damages of $2,500 for each negligent violation of GIPA. 410

                                             ILCS 513/40(a)(3).

                                                     52.      Defendant’s violations of GIPA, a statute that has been in effect since 1998, were

                                             knowing and willful, or were at least in reckless disregard of the statutory requirements.

                                             Alternatively, Defendant negligently failed to comply with GIPA.

                                                     53.      Accordingly, Plaintiff, individually and on behalf of the proposed Class, prays for

                                             the relief set forth below.

                                                                                   PRAYER FOR RELIEF

                                                     WHEREFORE, Plaintiff Alex Koziol, individually and on behalf of the proposed Class,

                                             respectfully requests that this Court enter an Order:

                                                           a. Certifying the Class as defined above, appointing Plaintiff as class representative,

                                                              and appointing Plaintiff’s counsel as class counsel;



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                                                        b. Declaring that Defendant’s actions, as set forth herein, violate GIPA;

                                                        c. Awarding injunctive and equitable relief as necessary to protect the interests
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                                                            of Plaintiff and the Class by requiring Defendant to comply with GIPA;

                                                        d. Awarding statutory damages of $15,000 for each reckless or intentional violation

                                                            of GIPA pursuant to 410 ILCS 513/40(a)(3);

                                                        e. Awarding statutory damages of $2,500 for each negligent violation of GIPA

                                                            pursuant to 410 ILCS 513/40(a)(3);

                                                        f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses

                                                            pursuant to 410 ILCS 513/40(a)(3);

                                                        g. Awarding pre- and post-judgment interest, as allowable by law; and

                                                        h. Such further and other relief the Court deems reasonable and just.

                                                                                      JURY DEMAND

                                                    Plaintiff requests trial by jury of all claims that can be so tried.

                                             Dated: December 18, 2023                       Respectfully submitted,

                                                                                            ALEX KOZIOL, individually and on
                                                                                            behalf of similarly situated individuals,

                                                                                            By:     /s/ Andrew T. Heldut
                                                                                                    One of Plaintiff’s Attorneys

                                              Timothy P. Kingsbury
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